
GRbbn, J.
delivered the opinion of the court.
The bill alledges that Nathaniel Hewet, the step-father of the complainant, was indebted to one Jesse Thompson, in the sum of three hundred and thirty-seven dollars and eighty-eight cents, for which, said Thompson took Hewet’s note; — that after said note was taken, Thompson applied to the complainant, then a young man, about twenty years old, to sign the note also — which the complainant declined to do. Thompson then told complainant, that he did not wish to hold him responsible, but that he was apprehensive Hewet was mis-managing his affairs, and that he was afraid of the loss of the debt, and wished the signature of the complainant, only for the purpose of engaging him to give the debt some attention, and to urge Hewet to pay it. Upon these assurances, complainant, confiding in said Thompson, agreed to sign, and did execute said note. Thompson has died, and the defendants are his administrators, and have sued on the note. Complainant declines relying on and pleading his infancy at the time the note was executed. «
*119The allegations of the bill are substantially proved, and we think constitute a good ground for enjoining the enforcement of this note against the complainant. ■
If Thompson was living, and was to attempt to enforce an obligation thus procured, it would be a gross fraud. And although these administrators are not chargeable with any intentional wrong, yet this note on the complainant, so executed, can have no more obligatory effect on him, in their hands, than it would have had in the hands of their intestate.
Affirm the decree.
